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                                      #:8562



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14                                  UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
17      JENNY LISETTE FLORES, et al.,    )           Case No. CV 85-4544 DMG (AGRx) 
18                                       )
                Plaintiffs,              )           PLAINTIFFS’ EXHIBITS 9-12 [PART 3 OF
19      - vs -                           )           6]
20                                       )
        JEH JOHNSON, SECRETARY, U.S.     )           Hearing: January 30, 2017
21      DEPARTMENT OF HOMELAND SECURITY, )
        et al.,                          )
22
                                         )
23              Defendants.              )
                                      _
24
25      Plaintiffs’ counsel, continued:
26
27
28
    Case 2:85-cv-04544-DMG-AGR Document 287-3 Filed 12/06/16 Page 2 of 102 Page ID
                                      #:8563

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                          UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

             JENNY LISETTE FLORES,      )
             et al.,                    )
                                        )
                                        )
                          Plaintiffs,   )
             VS.                        ) Case No. CV 85-4544 DMG
                                        )
                                        )
             LORETTA E. LYNCH,          )
             Attorney General of the    )
             United States, et al.,     )
                                        )
                                        )
                          Defendants.   )
             ---------------------------x




                         DEPOSITION OF PHILIP MILLER

                                WASHINGTON, D.C.

                               SEPTEMBER 28, 2016

                                    1:01 p.m.




            Reported by:
            Misty Klapper, CRR, RPR, CMR
            Job No. 46539




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     4                                PHILIP MILLER

     5                                SEPTEMBER 28, 2016

     6                                1:01 p.m.

     7

     8                 Deposition of Philip Miller,

     9           held at the Department of Justice,

    10           450 5th Street, N.W., Washington,

    11           D.C., pursuant to Notice, before

    12           Misty Klapper, RPR, CRR, CMR and

    13           Notary Public within and for the

    14           District of Columbia.

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    13      ALSO PRESENT:

    14                     Tom Zimmerman

    15                     Wendy Wallace

    16

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     3      WITNESS:                                   EXAMINATION BY:               PAGE

     4      Philip Miller                              Mr. Schey                          5

     5

     6

     7

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     9      NO.:             DESCRIPTION:                                                PAGE

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      2

      3                 MS. REPORTER:           Mr. Schey, do

      4           you hereby order our services for

      5           this deposition and agree to

      6           payment?

      7                 MR. SCHEY:          Yes.

      8                         P R O C E E D I N G S

      9     Whereupon:

     10                                PHILIP MILLER,

     11                      was called for examination, and, after

     12     being duly sworn, was examined and testified as

     13     follows:

     14                 EXAMINATION BY COUNSEL FOR

     15           PLAINTIFFS

     16                      BY MR. SCHEY:

     17           Q.    If you don't understand any

     18     of my questions, would you please let

     19     me know that you do not understand my

     20     question and I will rephrase it?

     21           A.    I will.        Thank you.

     22           Q.    And I'm entitled to your best

     23     estimation of things.            So if you have

     24     an estimate, please give it, but do not

     25     guess or speculate.


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      1                     PHILIP MILLER

      2           Q.    Do you know approximately --

      3     before Dilley and Karnes were set up,

      4     do you know approximately what

      5     percentage of apprehended minors were

      6     released because there was no space

      7     available, detention space available,

      8     for them?

      9           A.    I do not know that.

     10           Q.    And when -- prior to Karnes

     11     and Dilley being set up, when -- when

     12     accompanied minors were released, what

     13     authority was relied upon by ICE to

     14     release those children?

     15                 MR. SILVIS:          I'll object to

     16           the extent you're asking for a

     17           legal conclusion.

     18                 THE WITNESS:           We used our

     19           discretionary detention authority

     20           under Section 236(a), which also

     21           provides opportunity for us to set

     22           conditions to include the

     23           conditions under which someone

     24           could be released.

     25                      BY MR. SCHEY:


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      1                     PHILIP MILLER

      2           Q.    And what does 236(a) say?

      3     Can you tell us your best recollection?

      4           A.    Well, I'm not an attorney, so

      5     I don't have the law memorized; but

      6     operationally it gives us the authority

      7     to set conditions of either continued

      8     detention or release for cases that are

      9     not mandatory detention.

     10           Q.    Okay.       Weren't -- weren't the

     11     vast majority of those accompanied

     12     minors apprehended close to the border?

     13           A.    I don't have a breakdown in

     14     front of me, nor do I recall the

     15     location of -- of folks where they're

     16     arrested.

     17           Q.    Give us your best estimate.

     18     Isn't it a fact that the great majority

     19     of minors apprehended accompanied by

     20     parents by ICE this year, last year,

     21     the previous two years, five years, ten

     22     years have always been apprehended

     23     along the border?          Isn't that true?

     24                 MR. SILVIS:          Object to the

     25           form and foundation.


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      1                     PHILIP MILLER

      2           settlement agreement requires is

      3           legal advice and that he won't be

      4           providing what that legal advice

      5           was.    And that would be

      6           attorney/client privilege.

      7                      BY MR. SCHEY:

      8           Q.     Were -- other than through

      9     your meetings with counsel, have -- has

     10     anybody provided you with any

     11     documentation regarding the

     12     requirements of Flores?

     13           A.     No, sir.

     14           Q.     And when -- when -- when was

     15     the most recent time that ICE officers

     16     at your detention facilities received

     17     any in-person training regarding the

     18     options for release under the Flores

     19     settlement for minors in your custody?

     20                  MR. SILVIS:         Object to the

     21           form and to the foundation of the

     22           question.

     23                  THE WITNESS:          Every time new

     24           detailers arrive at one of the

     25           residential centers, they have an


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      1                     PHILIP MILLER

      2           intake briefing and instruction

      3           on, you know, what they will be

      4           required to do while they're at

      5           the facility.         And that training

      6           is predicated on our operational

      7           understanding of the Flores

      8           agreement.

      9                 It's not limited to -- to

     10           different sections of it.                 It's an

     11           overall intake briefing that

     12           covers our expectations of our

     13           officers while they're on campus.

     14                      BY MR. SCHEY:

     15           Q.    Okay.       I'm going to ask you

     16     to try to answer my questions or this

     17     deposition will just go on for a lot

     18     longer than it needs to.

     19                 My question was not generally

     20     what kind of training you provide to

     21     your officers.        My question was very

     22     specific.     And most of my questions

     23     will be very specific.

     24                 My question was -- and if you

     25     don't know, just state you don't know.


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                                                                                               52
      1                     PHILIP MILLER

      2           question.

      3                      BY MR. SCHEY:

      4           Q.    And if you don't know, just

      5     say you don't know.           Don't tell us

      6     about they get all kinds of memos all

      7     the time.     My question is a very

      8     specific question.

      9                 MR. SILVIS:          Object to the

     10           form.

     11                 THE WITNESS:           I don't know.

     12                      BY MR. SCHEY:

     13           Q.    And are you aware of any time

     14     in which ICE agents working at the

     15     family detention facilities have

     16     received in-person training about the

     17     Flores requirements with regards to the

     18     options for release of minors in your

     19     custody?

     20           A.    No, I don't.

     21           Q.    Are you aware of any time in

     22     which ICE officers working at your

     23     family detention facilities have

     24     received written instructions or

     25     guidance regarding the options for


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      1                     PHILIP MILLER

      2     release of minors under the Flores

      3     settlement?

      4           A.    No, sir.

      5           Q.    Are you aware of any

      6     in-person training provided to your

      7     officers at family detention centers --

      8     I said in-person training -- regarding

      9     Judge Gee's -- and for the Court

     10     Reporter, that's G-E-E -- August 2015

     11     order in the Flores case?

     12           A.    No.

     13           Q.    Are you aware of any written

     14     instructions or guidance issued to your

     15     officers at the family detention

     16     centers in writing, instructions or

     17     guidance, regarding Judge Gee's August

     18     2015 order in the Flores case?

     19                 MR. SILVIS:          Object to

     20           foundation.

     21                 THE WITNESS:           No, not to the

     22           officers.

     23                      BY MR. SCHEY:

     24           Q.    Are you aware of any part of

     25     the PALMS -- for the Court Reporter, I


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      1                     PHILIP MILLER

      2     believe that's capital -- all capitals

      3     P-A-L-M-S -- PALMS Training Module that

      4     includes an explanation of the options

      5     for release of minors set forth in the

      6     Flores settlement?

      7           A.    No.

      8           Q.    Are you aware of any part of

      9     the PALMS Training Module that

     10     addresses the meaning of a special

     11     needs minor under the Flores

     12     settlement?

     13                 MR. SILVIS:          Object to

     14           foundation.

     15                 THE WITNESS:           No.

     16                      BY MR. SCHEY:

     17           Q.    Are you aware of any training

     18     provided in the PALMS Module regarding

     19     the definition of a licensed program

     20     under the Flores settlements?

     21                 MR. SILVIS:          Object to

     22           foundation.

     23                 THE WITNESS:           No.

     24                      BY MR. SCHEY:

     25           Q.    Are you aware whether anybody


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      1                     PHILIP MILLER

      2     approximately ten options generally

      3     involving release to people, that

      4     they're then entitled to be offered

      5     release to a licensed program?

      6                 MR. SILVIS:          Object to the

      7           form.

      8                      BY MR. SCHEY:

      9           Q.    Are you aware of that or not?

     10                 MR. SILVIS:          Objection to the

     11           form and foundation.

     12                 THE WITNESS:           No.

     13                      BY MR. SCHEY:

     14           Q.    Was that a no?

     15           A.    Yes, my answer was no.

     16           Q.    And at the present time, does

     17     ICE have any contracts with any

     18     licensed programs, other than your

     19     detention -- family detention centers,

     20     in which you could place accompanied

     21     minors?

     22                 MR. SILVIS:          Objection,

     23           foundation.

     24                 THE WITNESS:           Not placement

     25           locations.        We have a family case


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      1                     PHILIP MILLER

      2           management program where we could

      3           facilitate community re-engagement

      4           generally utilized for folks who

      5           are not good candidates for the

      6           FRCs.     We will look to place them

      7           into the family case management

      8           program as an alternative to

      9           detention.

     10                      BY MR. SCHEY:

     11           Q.    Okay.       Again, I'm just going

     12     to request that you try to focus on my

     13     questions and that way we'll just get

     14     through your deposition a lot quicker

     15     and you can get on with your work and I

     16     can get on with my work.

     17                 My -- my question was a very

     18     specific question.          Are you aware of --

     19     of any licensed program, other than

     20     your family detention centers, your

     21     three family detention centers, that

     22     ICE has contracted with for the

     23     placement of minors in your custody who

     24     for one reason or another placement

     25     with an individual is not available or


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      1                     PHILIP MILLER

      2     appropriate?

      3           A.    No.

      4           Q.    Are you aware of whether in

      5     the past couple of years ICE has had

      6     any such contracts with licensed

      7     programs --

      8           A.    No.

      9           Q.    -- for the placement of

     10     minors?

     11                 MR. SILVIS:          Objection,

     12           foundation.

     13                 THE WITNESS:           No.

     14                      BY MR. SCHEY:

     15           Q.    Okay.       Are you aware of any

     16     of the -- any of the requirements in

     17     the Flores settlement with reference to

     18     how rapidly minors may have the right

     19     to be placed with an individual or

     20     placed in a licensed program?

     21                 MR. SILVIS:          Object to the

     22           form.

     23                 THE WITNESS:           Yes.

     24                      BY MR. SCHEY:

     25           Q.    I'm sorry?


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      1                     PHILIP MILLER

      2     accompanying children; is that correct?

      3           A.    We have the capability to do

      4     it, yes.

      5           Q.    And those fathers and mothers

      6     at your facility are commingled with --

      7     with children detained at that

      8     facility; is that correct?

      9           A.    Yes.

     10           Q.    And does that raise any

     11     concerns with you or with the agency?

     12                 MR. SILVIS:          Object to the

     13           form.

     14                 THE WITNESS:           No.

     15                      BY MR. SCHEY:

     16           Q.    How about at the other two

     17     facilities, in Dilley and Karnes, their

     18     children are also coming over with

     19     unrelated adults; is that correct?

     20           A.    Yes.

     21           Q.    And does that raise any

     22     concern for you or for the agency that

     23     you are aware of?

     24                 MR. SILVIS:          Object to the

     25           form.


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      2                 THE WITNESS:           No.

      3                      BY MR. SCHEY:

      4           Q.    How many -- if you know,

      5     approximately what is the mix of

      6     fathers versus mothers detained at

      7     Dilley?

      8           A.    There are no fathers at

      9     Dilley.

     10           Q.    How about at Karnes?

     11           A.    There are no fathers at

     12     Karnes.

     13           Q.    How about at Berks?

     14           A.    There are no fathers at

     15     Berks.

     16           Q.    And why is it that your

     17     agency does not detain fathers who are

     18     accompanying their children when

     19     apprehended?

     20                 MR. SILVIS:          Object to

     21           foundation.

     22                 THE WITNESS:           We don't have

     23           the capacity to do it at this

     24           time.

     25                      BY MR. SCHEY:


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      2     that same information could not be put

      3     into the case comment section of the

      4     EARM system?

      5           A.    No.

      6           Q.    And with regards to the

      7     sponsorship person or the sponsor

      8     person, if -- if what was involved was

      9     a minor, would your officers make

     10     inquiry as to the appropriateness of

     11     the minor joining that sponsor or

     12     living with that sponsor?

     13           A.    Sorry, I don't understand

     14     your question.

     15           Q.    Sure.       You talked about how

     16     the officers would make inquiry into

     17     the sponsor; is that correct?

     18           A.    Yes.

     19           Q.    And you mentioned several

     20     things they would look into.

     21                 If a minor is involved, is

     22     one of the issues they look into the

     23     appropriateness of the minor living in

     24     that home?

     25           A.    No.     We defer to the mother.


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      2           Q.    And what are those

      3     circumstances -- what are those

      4     instructions, excuse me?

      5           A.    As I said, when they arrest

      6     or encounter a juvenile offender, they

      7     should confer with the field office

      8     juvenile coordinator.

      9           Q.    Okay.       And you previously

     10     said a juvenile who has been convicted

     11     of an adult crime.          I believe that's

     12     what you said.        Is that correct?

     13           A.    That was an example of

     14     someone who could be placed in adult

     15     detention, yes.

     16           Q.    Okay.       And my question was,

     17     are you aware of any instructions to

     18     ICE officers regarding the

     19     circumstances in which a minor in your

     20     custody may be placed in an ICE

     21     detention facility or ICE contracted

     22     facility?

     23                 MR. SILVIS:          Object to the

     24           form.

     25                      BY MR. SCHEY:


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      2           Q.    Are you aware of any such

      3     instructions and, if so, tell us about

      4     those instructions.

      5                 MR. SILVIS:          Object to the

      6           form.

      7                      BY MR. SCHEY:

      8           Q.    I'm not talking about whether

      9     they were instructed to contact some

     10     juvenile coordinator.

     11           A.    Those are the instructions.

     12     If you don't like the answer, there's

     13     nothing I can do about it, but that's

     14     my answer.

     15           Q.    Okay.       So my question is, are

     16     you aware of any instructions -- aside

     17     from contacting a juvenile coordinator,

     18     are you aware of any instructions to

     19     ICE officers regarding the

     20     circumstances in which a minor in ICE

     21     custody may be placed in a secure ICE

     22     detention facility or ICE contracted

     23     facility, any such instructions?

     24                 MR. SILVIS:          Objection, asked

     25           and answered.


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      2                 THE WITNESS:           No.

      3                      BY MR. SCHEY:

      4           Q.    Are you aware whether or not

      5     the Flores settlement requires that

      6     when a minor is placed in such a

      7     detention facility, a secure detention

      8     facility, that facility must have

      9     separate accommodations for minors?

     10           A.    No.

     11           Q.    Are you aware of any

     12     instructions that have been issued to

     13     ICE officers in writing, and, if so,

     14     what instructions, that would help them

     15     understand what the term escape risk

     16     means under the Flores settlement?

     17                 MR. SILVIS:          Objection to

     18           form.

     19                 THE WITNESS:           Can you ask

     20           your question again?

     21                      BY MR. SCHEY:

     22           Q.    Are you aware of any written

     23     instructions issued to ICE officers,

     24     and, if so, please identify those

     25     instructions, that explains to them


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      2     what the term escape risk means in the

      3     Flores settlement?

      4           A.    No.

      5           Q.    Are you aware of any

      6     in-person training about that?

      7           A.    About defining terms from

      8     Flores?

      9           Q.    Explaining to the officers

     10     what the term escape risk means under

     11     the Flores settlement, are you aware of

     12     any in-person training on that

     13     question?

     14           A.    No.

     15           Q.    Do you recall what the -- or

     16     how the term escape risk is -- is

     17     defined in -- in the Flores settlement

     18     in general?

     19           A.    No.

     20           Q.    Are you yourself aware of

     21     what the term medium secure facility

     22     means as set forth in the Flores

     23     settlement?

     24           A.    No.

     25           Q.    Are you aware of what the


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      2     Flores settlement states with regards

      3     to the placement of minors in medium

      4     secure facilities as an alternative to

      5     placement in a secure facility?

      6           A.    No.

      7           Q.    What is your understanding of

      8     the current status of licensing for the

      9     facility at Dilley?

     10           A.    Current status is that the

     11     final adjudication is being held in

     12     abeyance by the State of Texas pending

     13     the grassroots litigation.

     14           Q.    And so at the present time

     15     the Dilley facility is not licensed; is

     16     that correct?

     17           A.    Yes.

     18           Q.    How about the same question

     19     for the Karnes facility, does that have

     20     a current operative license or not?

     21           A.    It does have a current

     22     operative license.

     23           Q.    And when does that license

     24     expire?

     25           A.    Sometime in October.                I do


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      2     you know?

      3           A.    I believe that was determined

      4     by the State of Texas in coordination

      5     with the juvenile family resident

      6     management unit.

      7           Q.    When was that change made to

      8     go from 8 persons to 5 people per room?

      9           A.    I don't remember the exact

     10     date, but it was during the process of

     11     obtaining the temporary license.

     12           Q.    And the Declaration also

     13     states that -- strike that.

     14                 Has ICE made any effort that

     15     you are aware of to determine whether

     16     the period of time in which you are

     17     detaining these family units prior to

     18     their fear interviews is sufficient

     19     time to allow for adequate preparation

     20     and representation by counsel?

     21                 MR. SILVIS:          Object to the

     22           form.

     23                 THE WITNESS:           Although I

     24           wasn't involved in the

     25           conversation, I know that our


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      2           Chief Counsel Office in San

      3           Antonio, along with USCIS and the

      4           different pro bono providers, met

      5           and came to an agreement of how

      6           long the -- the resident would be

      7           on campus before they would have

      8           their initial interview.

      9                      BY MR. SCHEY:

     10           Q.    And do you know what they

     11     determined?

     12           A.    I believe it's 72 hours.

     13           Q.    And so you understand there

     14     was some agreement with the pro bono

     15     attorney groups that 72 hours was

     16     sufficient time for them to adequately

     17     prepare for legal representation at a

     18     fear interview; is that correct?

     19           A.    Yes, sir.

     20           Q.    And who communicated that to

     21     you, if you recall?

     22           A.    Our attorneys.

     23           Q.    When you say our attorneys,

     24     do you mean ICE attorneys or attorneys

     25     with the Office of Immigration?


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      2     remember at this time, yes, sir.

      3           Q.    And when you said -- the

      4     first one you gave was age and then a

      5     separate one children under one.

      6                 Can you explain the criteria

      7     of age to us?

      8           A.    Sure.       Some families have

      9     children that are -- you know -- that

     10     are older than 17.          Some families --

     11     you know, it's like -- there is no

     12     standard definition, at least for us

     13     and what comprises a family.                 So we

     14     have to look, you know, at the age of

     15     the children relative to, you know,

     16     what's readily available; you know,

     17     whether the family unit is comprised of

     18     children that are, you know, of

     19     majority under the INA or deemed

     20     juvenile.

     21                 So it's a little bit -- you

     22     know, we try to keep family units

     23     together.     And so we'll look at kind of

     24     the totality of the circumstances of --

     25     of that individual family unit and does


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      2     that individual family unit's profile,

      3     taking into account those six -- and I

      4     believe there's probably others, I

      5     don't have the -- I don't have the

      6     screening tool in front of me -- but

      7     they -- you know -- they try to look at

      8     the totality of the family composition

      9     and whether or not their needs can be

     10     met before we make a determination on

     11     placement.

     12           Q.    Okay.       I apologize, I'm sure

     13     it's me, but I'm still not quite

     14     understanding what you're saying about

     15     the age.    I know you said if they were

     16     older children.         I think you said older

     17     than 17.

     18           A.    Right.       If they're over 17 --

     19     like some groups, especially at ports

     20     of entry, present themselves as a

     21     family unit.       They consider themselves

     22     a family unit.        Sometimes in that

     23     family unit they'll say this is my son,

     24     he's 19; this is my daughter, who is

     25     16, but she's a U.S. citizen; this is,


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      2     Declaration states in paragraph 15 that

      3     ICE review every case no later than 15

      4     days or after the family units'

      5     apprehension and every 15 days

      6     thereafter.

      7                 Do you see that in paragraph

      8     15?

      9           A.    Yes, sir.

     10           Q.    When -- when I deposed the --

     11     the ICE officials in charge of these

     12     three detention centers, I was not able

     13     to learn what -- what they would do

     14     differently at the 15 day mark than at

     15     any other time, because they testified

     16     we're constantly reviewing every case

     17     to see if anything has changed.

     18                 I'm wondering, can you tell

     19     us what the instruction says about this

     20     15 days and what it says anybody is

     21     supposed to do differently after 15

     22     days?

     23                 MR. SILVIS:          Object to the

     24           form.

     25                 THE WITNESS:           Sure.      The


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      2           original guidance that went out, I

      3           believe it was in June of '15, was

      4           at the Secretary's direction to,

      5           you know, provide the residents

      6           with the opportunity to -- to

      7           inform ICE of any changes in their

      8           circumstance or sponsorship.                  And

      9           we would do that iteratively

     10           throughout their continued

     11           detention.

     12                 Now that families are in

     13           detention for a much shorter

     14           period of time, I probably would

     15           imagine that AFODs, A-F-O-D,

     16           assistant field office directors

     17           at the facilities had that ongoing

     18           dialogue with the residents.

     19                 The 15-day benchmarks remain

     20           in effect.       They notice the

     21           residents that their -- you

     22           know -- that their case is being

     23           reviewed and if they have any

     24           additional submissions that they

     25           or their counsel would like to


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      2           have considered.

      3                 But for many of them if -- if

      4           they get to the 15 day point, it's

      5           usually only once.            You know, most

      6           of these folks that we're talking

      7           about are -- you know -- are

      8           generally put on supervised

      9           release around the 15 day mark, if

     10           not shortly thereafter.

     11                      BY MR. SCHEY:

     12           Q.    And was any written

     13     instruction issued about what to do

     14     differently at the 15 day mark, if you

     15     know?

     16           A.    I believe there was in -- in

     17     June of '15.

     18           Q.    But when you say you believe

     19     there was, have you seen a written

     20     instruction that went out to ICE agents

     21     telling them what to do any differently

     22     at the 15 day mark?

     23           A.    To the best of my

     24     recollection, it went to the field

     25     office directors, yes.


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      2           Q.    And do you know -- have you

      3     seen any evidence of field office

      4     directors then issued something to

      5     their agents about what to do at the 15

      6     day mark?

      7           A.    That's what they indicated to

      8     me.   Yes, they did that.

      9           Q.    And my question was, have you

     10     seen what they've distributed?

     11           A.    No, I have not seen what they

     12     distributed.

     13           Q.    Okay.       And it's your

     14     understanding that every 15 days that a

     15     family unit is in custody, that ICE

     16     gives them some sort of a written

     17     notice telling them that if they have

     18     anything new about their custody

     19     status, to come and bring that forward

     20     to an ICE agent?

     21           A.    Yes, that's my understanding.

     22           Q.    And have you ever seen one of

     23     those documents that is allegedly given

     24     to these detainees?

     25           A.    I saw it during the creation


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      2     of the -- of the document.

      3           Q.    Sorry, during the creation of

      4     what document?

      5           A.    The document that you just

      6     referenced, the notice document.

      7           Q.    So during its creation you

      8     observed a document that ICE agents are

      9     supposed to distribute to families

     10     every 15 days who have been in custody

     11     for more than 15 days; is that your

     12     testimony?

     13           A.    Yes.

     14           Q.    And is there any required

     15     reporting, like in the system you

     16     mentioned earlier, the data system,

     17     that that would be recorded, that these

     18     families have been provided this 15-day

     19     notice every 15 days?

     20                 MR. SILVIS:          Object to form.

     21                 THE WITNESS:           I don't recall

     22           requirements.

     23                      BY MR. SCHEY:

     24           Q.    Okay.       Have you seen any

     25     reports that would indicate to you that


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      2     this -- the fact that this is being

      3     done is being recorded anywhere?

      4           A.    Yes.

      5           Q.    Okay.       And what reports have

      6     you seen that would indicate that this

      7     is being done at the three family

      8     detention facilities?

      9           A.    I see an aggregate report of

     10     either changes in custody

     11     determinations or other actions taken.

     12           Q.    So you've seen an activity

     13     report about custody determinations;

     14     but my question was, do you see any

     15     report that would indicate that these

     16     notices have been distributed every 15

     17     days?

     18           A.    The distribution of the

     19     notices, no, I don't track that.                   I

     20     track the actions taken based on the

     21     case reviews.

     22           Q.    And what is this case review?

     23     What is it called in the memo, in the

     24     instruction memo?

     25           A.    I don't recall that.


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      2           behalf of minors.

      3                 Again, we see the decision on

      4           how and where children reside to

      5           be a decision of the mother.                   We

      6           work to ensure that the family

      7           stays together, both while they're

      8           detained and while they're in

      9           transit.

     10                 And so the kind of

     11           assessments that you're

     12           describing, I think, are being

     13           done well by ORR.            At least it's

     14           my understanding that ORR does

     15           them well.

     16                 And I think if Congress

     17           wanted us to -- to do that and not

     18           do a law enforcement mission, we

     19           would have been directed to do so.

     20                      BY MR. SCHEY:

     21           Q.    Okay.       But are you aware of

     22     anything in the budget approved by

     23     Congress -- for your -- you know --

     24     your couple billion dollars for

     25     detention costs, are you aware of


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      2    STATE OF ______________ )

      3                                     )    :ss

      4    COUNTY OF ______________)

      5

      6

      7                I, PHILIP MILLER, the

      8    witness herein, having read the foregoing

      9    testimony of the pages of this deposition,

     10    do hereby certify it to be a true and

     11    correct transcript, subject to the

     12    corrections, if any, shown on the attached

     13    page.

     14

     15                            _________________________

     16                                    PHILIP MILLER

     17

     18

     19

     20    Sworn and subscribed to before

     21    me, this                    day of

     22                                    , 2016.

     23

     24    _______________________________

     25               Notary Public


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               Exhibit 10
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                                                                         1 ID
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   1                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
   2                           WESTERN DIVISION
   3   JENNY LISETTE FLORES, et al,
   4               Plaintiffs,
   5   vs.                              CASE NO.: CV 85-4544 DMG (AGRx)
   6   LORETTA E. LYNCH, Attorney
       General of the United States,
   7   et al,                       Hon. Dolly M. Gee
                                    United States District Judge
   8             Defendants.
   9                                 * * *
  10
  11                              CONFIDENTIAL
  12   DEPOSITION OF:                    Ritza M
  13   TAKEN AT INSTANCE OF:             The Defendants
  14   DATE:                             September 27, 2016
  15   PLACE:                            United States Attorney's
                                         Office
  16                                     1001 E. Business Highway 98
                                         Panama City, Florida
  17
       TIME:                             3:00 P.M., CST
  18
  19
  20
  21
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  25

                  PROFESSIONAL COURT REPORTING SERVICE, INC..
                337 Magnolia Avenue *    Panama City, FL 32401          231
                      850-763-8948   * Fax 850-763-3311
                                                                         2 ID
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   1                              APPEARANCES:
   2                           FOR THE PLAINTIFF:
   3                       Katherine Manning, Esq.
                              Ms. Annette Kirkham
   4                      via telephone conference
                    The Law Foundation of Silicone Valley
   5                        152 North Third Street
                                  Third Floor
   6                          San Jose, CA 95112
   7                          FOR THE DEFENDANTS:
   8                     C. Frederick Sheffield, Esq.
                     United States Department of Justice
   9                            Civil Division
                      Office of Immigration Litigation
  10                        District court Section
                      P.O. Box 868, Ben Franklin Station
  11                       Washington, D.C. 20044
  12                              ALSO PRESENT:
  13                    Ms. Alicia Madrado, Interpreter
  14                               - - - - - -
  15                                I N D E X
  16   WITNESS                                                 PAGE
  17   Ritza M
                              Direct Examination
  18                             by Mr. Sheffield                3
                              Cross Examination
  19                             by Ms. Manning                 35
  20   Certificate of Reporter                                  37
  21                              EXHIBIT INDEX
  22   NUMBER      DESCRIPTION                                   PAGE
  23      1        English version of Declaration                 25
  24      2        Spanish version of Declaration                 26
  25

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   1               The following pages constitutes the Deposition
   2   of RITZA M                        taken at the instance of the
   3   Plaintiff upon oral examination, taken pursuant to notice at
   4   3:00 P.M., C.D.T., on the 27th day of September, 2016, in
   5   the Office of the United States Attorney, 1001 East Business
   6   Highway 98, Panama City, Florida.
   7               The Deposition is being taken for the purpose of
   8   discovery, use at trial, or for both of the foregoing, or
   9   for such other uses and purposes that may be permitted
  10   under the applicable and governing rules. Taken before
  11   Floie Lynn Sexton, a Notary Public in and for the State of
  12   Florida at Large.
  13                                 * * *
  14               MR. SHEFFIELD: Okay, with that, let's begin, I'll
  15   start by just noting, Court Reporter, if you would please
  16   designate this deposition as confidential and subject to the
  17   Protective Order in this case.
  18               COURT REPORTER: Would you raise your right hand,
  19   please?
  20               MR. SHEFFIELD: And we're going to swear in the
  21   interpreter.
  22              (INTERPRETER SWORN BY THE COURT REPORTER)
  23               MR. SHEFFIELD: And can you swear in the witness
  24   at this point too?
  25                (WITNESS SWORN BY THE COURT REPORTER)

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   1               MS. MANNING: Vague and ambiguous.
   2         Q     You can continue. Was there a process to check
   3    you in, did anyone speak with you?
   4         A     She was talking to the officer and after thirty
   5    minutes, and he was asking where she came from, what she was
   6    doing and where, what she was supposed to do, and all those
   7    questions he was asking her. Thirty minutes.
   8         Q     Okay. Did they ask you for your documents?
   9         A     Yes, and they took them.
  10         Q     Okay. Were you given any type of blanket while
  11    you were there?
  12         A     No.
  13         Q     Were you given anything, which we would call a
  14    Mylar blanket, which kind of looks metallic?
  15         A     No.
  16         Q     Were you given anything at all to help keep you
  17    warm?
  18         A     She, the only thing that she had was a sweater,
  19    and that's how she covered her son because he has asthma.
  20         Q     Okay. So how long after you arrived were you
  21    given food to eat?
  22         A     She doesn't remember very well.
  23         Q     Okay, was it --
  24         A     She say it was very late.
  25         Q     Okay. But there was, would you estimate that it

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   1    was before midnight or after midnight or?
   2         A     She don't know.
   3         Q     Okay. And what did that meal consist of?
   4         A     Okay. They give her a sandwich that didn't have
   5    anything inside, they didn't give anything to the son, so
   6    she had to share with him.
   7         Q     What do you mean, there was nothing inside?
   8         A     Just a sandwich with nothing inside. What she
   9    means that it's just bread, and it didn't have anything
  10    inside, you know, no meat or something.
  11         Q     It was just two pieces of bread?
  12         A     Si, yes, two pieces of bread.
  13         Q     And how was, can you describe how this was
  14    provided to you?
  15         A     She doesn't remember.
  16         Q     Did someone give it to you or was there a place
  17    where you could go get it?
  18         A     Okay, he gave it to her.
  19         Q     Who?
  20         A     An officer, a policeman gave it to her.
  21         Q     Okay. Do you remember how many meals you were
  22    provided with while you were in detention total?
  23         A     It was only one, it was only two breads that they
  24    gave me.
  25         Q     So you were only provided with food on one

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   1    instance?
   2         A      Okay. In the morning, I'm sorry, they, I'm sorry,
   3    they took her to a place that it's like a doggy house,
   4    that's how it is translated and they give her an apple, a
   5    burrito, a cookie and a juice.
   6         Q      So what time about was that?
   7         A      7:00 A.M.
   8         Q      Okay.
   9         A      Okay, wait a minute, she's saying that they get
  10    out at 2:00 in the morning and got there at 7:00, so, but
  11    you know, that's what she's saying.
  12         Q      Okay, so let me clarify. So you, you checked into
  13    the facility at, in the evening, right?
  14         A      Okay, she's saying the same day that she got
  15    there, since there were so many people, she got sick.
  16         Q      Okay. But let's go back a second. What time of
  17    day was it that you arrived at the first facility?
  18         A      7:00 P.M. at night.
  19         Q      Okay. And you stayed at that facility until the
  20    next morning?
  21         A      Si, yes.
  22         Q      And where did you go after that first facility?
  23         A      The second, the second part was the doggy house
  24    and it is the second place that she went.
  25         Q      Okay. About how long did it take to get from the

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   1    first place to the second place? Less than --
   2         A      She doesn't know.
   3         Q      -- more or less than two hours?
   4         A      She doesn't remember, she doesn't know either to
   5    tell you.
   6         Q      Okay.
   7         A      Okay.
   8         Q      So when you describe getting a burrito and the
   9    food that you described, was that at the first facility or
  10    the second facility?
  11         A      Okay, when they gave her the burrito and the
  12    apple and cookie, it was in the doggy house.
  13         Q      Okay. How long did you stay there?
  14         A      Okay. She say, I don't know, you know, I couldn't
  15    tell you, it was like a day, one day, a complete day.
  16         Q      Okay. And how many times were you provided with
  17    food at that place?
  18         A      One time.
  19         Q      Okay, let's go back to the first place, did your
  20    son eat anything at that place?
  21         A      Only breast, um hm.
  22                MR. SHEFFIELD: Did you get that?
  23                COURT REPORTER: Only bread?
  24                THE INTERPRETER: Yeah, only breast, I mean, she's
  25    breastfeeding.

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   1               COURT REPORTER: Oh, breast?
   2               MR. SHEFFIELD: Yeah.
   3               THE INTERPRETER: I'm sorry.
   4               COURT REPORTER: Thank you for clarifying.
   5         Q     Were you offered juice or anything to drink?
   6    Again, just to clarify, I'm talking about the first place.
   7         A     No. Oh, okay, water. Water.
   8         Q     Okay.
   9         A     Um hm.
  10         Q     About how many people were in the room with you at
  11    the first place?
  12         A     A lot.
  13         Q     Can you estimate how many?
  14         A     No, she can't.
  15         Q     Okay. You said you had access to drinking water?
  16         A     Yes, the ones that, you know, that you push and
  17    then you drink, but she say that it taste chlorine.
  18         Q     Okay.
  19         A     Chlorine, it tasted chlorine.
  20               COURT REPORTER: Chlorine?
  21               THE INTERPRETER: Yes, chlorine.
  22         Q     Do you mean it was like a drinking fountain?
  23         A     Si, yes, um hm.
  24         Q     Okay. Did you get access to cups or anything like
  25    that?

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   1         A     No.
   2         Q     So in order to drink, you would just drink from
   3    the Fountain?
   4         A     Si, yes.
   5         Q     Okay. Can you describe, was there a bathroom in
   6    the room where you were located in the first facility?
   7         A     There was a bathroom, but it was low, there wasn't
   8    a, you know, a cover or it wasn't private.
   9         Q     Was there any type of wall or anything separating
  10    the bathroom from the rest of the room?
  11         A     Yes.
  12         Q     We need to describe that for the...
  13         A     It was a, you know, like I will say six feet.
  14         Q     Well, let's, like where on, can you describe how
  15    far it comes up to your body? Say it out loud. Say it out
  16    loud.
  17         A     Okay. To the leg, the beginning of the leg, that
  18    was how far it was. And it wasn't --
  19         Q     Was it, did it have, was it one wall or was it two
  20    walls, how many of those walls separated the bathroom from
  21    the rest of the room?
  22         A     Okay, only one, only one.
  23         Q     Okay. Did you have any health problems while you
  24    were at the first facility?
  25         A     She say yes, I have fever and I have a rash all

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   1    over my body.
   2         Q     When did this start?
   3         A     Okay. It started the same day about 9:00, she
   4    remembers the time.
   5         Q     9:00 at night or 9:00 in the morning?
   6         A     9:00 at night, P.M.
   7         Q     Okay.
   8         A     When she got there.
   9         Q     Did you tell any of the people, who worked at the
  10    facility, about these issues?
  11         A     Yes, but they didn't do anything, they didn't give
  12    her anything.
  13         Q     Okay.
  14         A     They didn't give her anything, they didn't give
  15    her anything.
  16         Q     Did you receive any treatment once you got to the
  17    second facility?
  18         A     No.
  19         Q     Did anyone ever examine you in a medical capacity
  20    while you were in either of the two facilities?
  21         A     Okay. When they got there, the only, at the
  22    second one, the only thing that they did was to check the
  23    son because he has problem breathing, and he has a problem
  24    in one of the lungs, and that's, that's what happened, they
  25    check him.

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   1               MR. SHEFFIELD: Okay. All right, that's all the
   2    questions I have. Yeah, we're done.
   3               MS. MANNING: Okay, I just wanted to ask a couple
   4    of clarifications questions.
   5               MR. SHEFFIELD: All right.
   6               MS. MANNING: I know you're in a rush, but...
   7               MR. SHEFFIELD: Well, I'm going to object to
   8    clarification questions for the record, but go ahead anyway.
   9               MS. MANNING: Okay.
  10                            CROSS EXAMINATION
  11    BY MS. MANNING:
  12         Q     There were a lot of questions about, about what
  13    you were wearing or holding when you crossed the river, and
  14    I just wanted to clarify, is it correct that you were
  15    wearing your boxer shorts, which are pajamas when you
  16    crossed the river and you were holding your pants in your
  17    hand?
  18         A     Yes.
  19         Q     Okay. And that you were then wearing your boxer
  20    shorts in the cell and you asked for dry pants, but they
  21    gave you back your wet pants, is that correct?
  22         A     Yes.
  23         Q     And in terms of the water fountain that you, you
  24    said you drank out of the water fountain with your mouth,
  25    and that water fountain was attached to the toilet, is that

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   1    correct?
   2               MR. SHEFFIELD: I would object based on the fact
   3    that that's not reflected in your testimony or in the
   4    declaration. I'm not sure where counsel is getting that
   5    assertion. You can answer it.
   6         A     She say it was near the bathroom, um hm, near the,
   7    you know, where you go to the bathroom, it's nearby.
   8               MR. SHEFFIELD: Okay.
   9               MS. MANNING: Okay. Okay, I don't have any
  10    further questions.
  11               MR. SHEFFIELD: All right, thank you, Kate. I'm
  12    going to sign off now.
  13               MS. MANNING: Okay, thank you.
  14               MR. SHEFFIELD: All right, bye-bye.
  15               MS. MANNING: Thank you.
  16               THE INTERPRETER: Thank you.
  17                         NO FURTHER EXAMINATION.
  18                        (Concluded at 4:30 P.M.)
  19
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   1                         CERTIFICATE OF REPORTER
   2    STATE OF FLORIDA
   3    COUNTY OF BAY
   4         I, Floie Lynn Sexton, a Court Reporter and Notary
   5    Public in and for the State of Florida at Large:
   6         DO HEREBY CERTIFY that the foregoing transcript was
   7    taken before me at the time and place therein
   8    designated; that before testimony was taken the witness
   9    was duly sworn; that the deposition was taken
  10    stenographically and digitally recorded, and thereafter
  11    reduced to typewriting; and the foregoing pages numbered
  12    three (3) through thirty-six (36) are true and correct to
  13    the best of my knowledge and belief.
  14         I FURTHER CERTIFY that I am not a relative, employee,
  15    attorney or counsel of any of the parties, nor a relative
  16    or employee of such attorney or counsel, nor financially
  17    interested in the foregoing action.
  18         WITNESS my hand and official seal this 3rd day of
        October, 2016.
  19
  20                                  Floie Lynn Sexton
                                      ________________________________
  21                                  Floie Lynn Sexton
                                      Notary Public - State of Florida
  22                                  My Commission No. GG 27111
                                      Expires: September 6, 2020
  23
  24
  25

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  1                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  2
         ------------------------------:
  3      JENNY LISETTE FLORES, et al,            :     NO. Cv 85-4544
                          Plaintiff              :
  4                                              :
                          vs.                    :
  5                                              :
         LORETTA E. LYNCH, Attorney              :
  6      General of the United States, :
         Et al.                                  :
  7                       Defendants             :
         ------------------------------:
  8
  9                                                  Leesport, Pennsylvania
 10
                                                Tuesday, October 4, 2016
 11
 12      DEPOSITION OF:
 13                         CELINA S
 14      called as a witness, pursuant to notice, by counsel
 15      for Defendants, held at the Berks County Resitential
 16      Center, 1040 Berks Road, Leesport, Pennsylvania,
 17      before Suzanne, L. E. Toto, RPR, of Capital
 18      Reporting Company, a Notary Public in and for the
 19      Commonwealth of Pennsylvania, beginning at
 20      approximately 1:16 p.m., when were present on behalf
 21      of the respective parties:
 22
 23
 24
 25
                                                                             245
                            www.CapitalReportingCompany.com
                                     202-857-3376
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                                Celina S  Filed 12/06/16 Page 58 ofOctober
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                                   #:8619
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  1                A P P E A R A N C E S
  2                      ACLU
                         BY: CODY WOFSY, ESQ.
  3                      39 Drumm Street
                         San Francisco, CA 94111
  4                      415-343-0785
                         cwofsy@aclu.org
  5                            -- AND --
                         CAMBRIA & KLINE
  6                      BY: BRIDGET CAMBRIA, ESQ.
                         123 North Third Street
  7                      Reading, PA 19601
                         484-926-2014
  8                       -- For C
  9                      (Via Telephone)
                         PETER SCHEY, ESQ.
 10                      256 Occidental Boulevard
                         Los Angeles, CA 90057
 11                      323-251-3223
                         pschey@centerforhumanrights.org
 12                       -- For Flores Class Action
 13                      ADRIANA C. ZAMBRANO
                         Law Student Intern
 14
 15                       US DEPARTMENT OF JUSTICE CIVIL DIVISION
                          BY: KATHLEEN A. CONNOLLY, ESQ.
 16                       Ben Franklin Station
                          Washington, DC 20044
 17                       202-305-8627
                          kathleen.a.connolly@usdoj.gov
 18                        -- For The Defendant
 19
 20
 21
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 25

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  1                                     I N D E X
  2                                     WITNESSES
  3      ALL WITNESSES:                                               PAGE:
  4
            CELINA S
  5            Examination by MS. CONNOLLY                            4:24
  6
  7
                                          EXHIBITS
  8
         CSB NO.:                   DESCRIPTION:                      PAGE:
  9
 10      CSB 1                      Exhibit 28 -
                                    Conditionally Filed
 11                                 Under Seal:
                                    For Identification                27:15
 12
 13      (Exhibits attached to transcript)
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  1                     P R O C E E D I N G S

  2                          MS. CONNOLLY:         All objections except

  3      for the form of a question and privilege will be

  4      reserved until time of trial.

  5                          MR. WOFSY:        That's fine.       Want to make

  6      sure we're on the same page.

  7                               VERONICA QUIROZ, was duly sworn to

  8      translate English into Spanish and Spanish into

  9      English in the following deposition:

 10                               CELINA S                       having been

 11      first duly sworn, was examined and testified through

 12      the interpreter as follows:

 13                          MS. CONNOLLY:         Good morning, ma'am.

 14                          Hi, Peter.        This is Kate Connolly with

 15      DOJ.     How are you?

 16                          MR. SCHEY:        Okay.   How are you?

 17                          MS. CONNOLLY:         Good.      So we have just

 18      sworn in the interpreter and sworn in the witness,

 19      and I'm about to begin.             Are you ready?

 20                          MR. SCHEY:        I am ready, I guess.       For

 21      the record I am joining on behalf of the Flores

 22      class.

 23                                      *     *   *

 24                                   EXAMINATION

 25      BY MS. CONNOLLY:

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  1      declaration jurada.         I mean, I'm just an interpreter.

  2      The deposition is the right interpretation or

  3      translation is declaration jurada, but you're

  4      thinking that is confusing?

  5                               MR. WOFSY:     Do you want to go off

  6      the record?

  7                               MS. CONNOLLY:      Yes.

  8                            (Discussion held off the record.)

  9      BY MS. CONNOLLY:

 10      Q.              So what's going to happen today in the

 11      deposition is that I'm just going to ask you a series

 12      of questions.         If there's anything that I ask that

 13      you don't understand, please just let me know and we

 14      can phrase it a different way.

 15      A.              Okay.

 16      Q.              Do you speak or understand any English?

 17      A.              No.

 18      Q.              So the woman, as you know, to your left

 19      is your interpreter today.            She is translating

 20      everything I say to you and everything you say to me.

 21      So just make sure she finishes translating before you

 22      respond to her question.

 23      A.              Okay.

 24      Q.              Now, you took an oath a few minutes ago.

 25      Do you recall that?

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  1      Q.              And what happened then?

  2      A.              They took us.       They ask us to go out of

  3      the patrol.      They asked us if we were hungry.             They

  4      feed us.

  5      Q.              And where was this that they fed you?

  6      A.              There at La Hielera.

  7      Q.              Okay.    And what did they feed you?

  8      A.              Only a piece of bread with mortadella and

  9      a juice.

 10      Q.              And then what happened?

 11      A.              Then after that, they get us in a room

 12      where we're going to stay.

 13      Q.              Okay.    And so was that the -- that was

 14      the first location that the border patrol brought you

 15      to, correct?

 16      A.              It is correct.

 17      Q.              And that was in Texas?

 18      A.              Yes.

 19      Q.              Do you know where specifically in Texas

 20      that was?

 21      A.              McAllen.

 22      Q.              McAllen?

 23      A.              Yes.

 24      Q.              Now, you said when you first arrived they

 25      gave you the sandwich with mortadella, is that

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  1      correct?

  2      A.              It is correct.

  3      Q.              And did your son get one as well?

  4      A.              Yes, also.

  5      Q.              And then can you describe for me the room

  6      that they put you in?

  7      A.              It was a room bigger than this.             Very

  8      cold.     There were a lot of people.           Well, there

  9      weren't beds or like something to sleep on.                 There

 10      was an open bathroom, so if you go to the bathroom

 11      everybody would see you.           They didn't give us

 12      blankets to get warmer.

 13      Q.              Okay.    So how many people would you

 14      estimate were in the room with you?

 15      A.              Well, more or less 50 people.

 16      Q.              50 people.      Was it all women and

 17      children?

 18      A.              Women and children.

 19      Q.              And while you were in that room, would

 20      you see the officers come by the room pretty

 21      regularly?

 22      A.              Yes.

 23      Q.              And what were they doing when they came

 24      by?

 25      A.              They look at us, and one of the person

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  1      ask them if they could lower the -- not the heat, the

  2      air conditioning because it was very cold.                And we

  3      saw that they pointed, but we don't think that they

  4      lower it because we still be cold.

  5                              MR. WOFSY:      Can I just note for the

  6      record, the deponent said air conditioning and the

  7      translator was the one who was confused about the

  8      wording, whether it was heat or air conditioning.

  9                              THE INTERPRETER:        Yes, I got

 10      confused with heat and air conditioning.

 11      BY MS. CONNOLLY:

 12      Q.              So you saw the agents with something in

 13      their hand that they were pointing towards the air

 14      conditioning?

 15      A.              Yes.

 16      Q.              Now, let's talk about the food situation

 17      for a minute.       How was food distributed or given out

 18      to you when you were in that cell?

 19      A.              There was a patrol agent, and he comes in

 20      every three hours.

 21      Q.              Okay.    And what happens when he comes?

 22                              THE INTERPRETER:        I couldn't hear

 23      it.

 24      A.              So he came.      He ask us to go out of the

 25      room.     We went in like a line, and they check us.

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  1      And they were checking us and giving us one

  2      mortadella sandwich and one juice.

  3      Q.              And you say one, do you mean one for you

  4      and one for your son?

  5      A.              Yes.

  6      Q.              And you said that he came around every

  7      three hours or so?

  8      A.              Yes, they ask us to go out.

  9      Q.              And other than the sandwich you've talked

 10      about, did they bring any snacks or juice?

 11      A.              No.    They always gave us the same.

 12      Q.              So there were never any like any cookies

 13      or any snacks given out?

 14      A.              Sometimes they gave the kids one cookie

 15      and then juice.

 16      Q.              This sandwich, did you ever refuse the

 17      sandwich?

 18      A.              I always took it.

 19      Q.              Now, were you ever given any warm food at

 20      that first place?

 21      A.              No, never.

 22      Q.              Now, how often were you and your son

 23      given juice?

 24      A.              Every three to four hours.

 25      Q.              What about the water situation, was there

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  1      water in the room that you were in?

  2      A.              Yes.     There were like cubes -- something

  3      like that with water, but we all use the same glass.

  4      Q.              You had one glass for all of you?

  5      A.              There were two to three glasses, but for

  6      all of us.

  7      Q.              And they didn't have any little like

  8      plastic cups or anything?

  9      A.              No.     I never saw them.

 10      Q.              And these cups, were they glass cups,

 11      were they plastic, or do you remember?

 12      A.              Plastic.

 13      Q.              Now, and that jug of water was right in

 14      the room with you there?

 15      A.              Yes, it was in the room.

 16      Q.              Now, can you talk -- you had mentioned a

 17      few moments ago the toilet facilities.

 18      A.              Yes.

 19      Q.              Where in the room was the toilet?

 20      A.              Well, the room, it was in the back part.

 21      Q.              So it was kind of in the corner?

 22      A.              Yes.

 23      Q.              Okay.     And what was around the toilet?

 24      A.              Well, the other people, what they did is

 25      lay down around there.

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  1      Q.              Okay.    So you're saying there are people

  2      laying down by the toilet?

  3      A.              Yes.

  4      Q.              So -- but next to the toilet there was a

  5      wall there, correct?

  6      A.              Yes.    There was a wall but a short one.

  7      Q.              Okay.    So let's figure out what that

  8      means by short.

  9      A.              Well, a tall one you don't see anyone.

 10      But this one gets to here so that people see us when

 11      we went to the bathroom.

 12                              MS. CONNOLLY:       So for the record,

 13      the witness is pointing to her approximately

 14      bellybutton area.

 15      A.              So that was the height of the wall.

 16      Q.              Okay.    So when you were sitting at the

 17      toilet, was your torso covered by the wall?

 18      A.              A little bit, not that much.

 19      Q.              Okay.    So how much of your torso was

 20      covered by the wall?

 21                              MR. SCHEY:      I would object to the

 22      question.      It's vague and ambiguous because it would

 23      obviously depend if -- you know, whether it is for a

 24      four-year-old child who is tall or somebody taller,

 25      it would be visible to somebody standing up.                 It

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  1      Q.              When did you first learn about Flores?

  2      A.              I learn in April.

  3      Q.              And where were you -- which facility were

  4      you at in April?

  5      A.              Here in Berks.

  6      Q.              Here at Berks?

  7      A.              Berks.

  8      Q.              So April 2016 is when you first heard

  9      about Flores?

 10      A.              Yes.

 11      Q.              So now, going back to this first facility

 12      when you met with the immigration officer, did they

 13      give you any paperwork or information about

 14      immigration places?

 15                               MR. WOFSY:     Objection.      Vague.

 16      Sorry, go ahead.

 17      BY MS. CONNOLLY:

 18      Q.              About immigration attorneys that may help

 19      you?

 20      A.              No.

 21      Q.              Now, how long were you at that first

 22      facility?

 23      A.              At La Hielera?

 24      Q.              Yes, the first facility.

 25      A.              Two days.

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  1      Q.              And what did they feed you?

  2      A.              Well, they gave us burritos, applesauce,

  3      juice and some candies.

  4      Q.              And that was for you and also for your

  5      son?

  6      A.              Yes.

  7      Q.              And did you have anything to sleep on?

  8      A.              They were like a mattress, like little

  9      tiny mattress.

 10      Q.              Little tiny mattress?

 11                              THE INTERPRETER:        Yes, because

 12      (Spanish word spoken) is not a mattress but is a

 13      little fluffy.

 14      BY MS. CONNOLLY:

 15      Q.              And was there water provided to you at

 16      this location?

 17      A.              Yes.

 18      Q.              And toilet facilities as well?

 19      A.              Yes, there were -- there was a bathroom.

 20      Q.              Now, was your son ever separated from you

 21      at this location?

 22      A.              No.

 23      Q.              And do you remember how many people were

 24      in your room with you?

 25      A.              More or less, 15.

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  1      us.

  2      Q.              Now, when you were at Dilley, you spoke

  3      with some immigration folks, is that correct?

  4      A.              Yes, it is correct.

  5      Q.              And did they give you a list of free

  6      legal services?

  7                              MR. WOFSY:      I'm going --

  8      A.              There, no.

  9      Q.              They did not at Dilley give you a list of

 10      free legal services?

 11      A.              That was after when I went to saw a

 12      lawyer.

 13      Q.              And was that while you were still at

 14      Dilley?

 15      A.              Yes.

 16      Q.              Okay.    And so you were able to go speak

 17      with a lawyer while you were at Dilley?

 18      A.              Yes.

 19      Q.              And now, when you were at Dilley, the

 20      walls of the rooms, did you notice the posters on the

 21      walls?

 22      A.              Yes, there were.

 23      Q.              Do you remember what they were?

 24                              MR. WOFSY:      Objection.      That's not

 25      the question.

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  1      BY MS. CONNOLLY:

  2      Q.              Do you remember what the posters said?

  3                               MR. WOFSY:     Objection.      That's

  4      not -- the interpretation is where the posters were.

  5      The question is what the posters were.

  6                               THE INTERPRETER:       Where or what?

  7      BY MS. CONNOLLY:

  8      Q.              There were posters on the wall.             Do you

  9      remember what they said?

 10                               THE INTERPRETER:       Oh, my God.

 11      Okay.     I understand where.         I'm sorry.

 12      A.              Well, what I remember is the name of any

 13      place there was there.

 14      Q.              Any place that was there?

 15      A.              Well, yes.      For example, where was the

 16      visitor room located.

 17      Q.              Okay.     Do you remember seeing posters for

 18      free legal services posted on the wall?

 19      A.              No.     That, no.

 20      Q.              And you don't remember getting any sort

 21      of list of legal services?

 22      A.              When I went with the lawyer, he gave me a

 23      list.

 24      Q.              The lawyer gave you a list?

 25      A.              Yes, a lawyer.

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  1      A C K N O W L E D G E M E N T            O F    D E P O N E N T
  2
  3      I, CELINA S                     do hereby acknowledge
  4      I have read and examined the foregoing pages of
  5      testimony, and the same is a true, correct and
  6      complete transcription of the testimony given
  7      by me, and any changes or corrections, if any,
  8      appear in the attached errata sheet signed by me.
  9
 10
 11
 12
 13
 14
 15
         _________________            ___________________________
 16      Date                         CELINA S
 17
 18
 19
 20
 21
 22
 23
 24
 25

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  1      Cody Wofsy, Esquire
         American Civil Liberties Union
  2      39 Drumm Street
         San Francisco, CA
  3
         IN RE:     Jenny Lisette Flores v. Loretta Lynch
  4
  5
  6     Dear Mr. Wofsey,
  7               Enclosed please find your copy of the
  8      deposition of CELINA S                          along with
  9      the original signature page.             As agreed, you
 10      will be responsible for contacting the witness
 11      regarding signature.
 12             Within 30 days of October 10, 2016, please
 13      forward errata sheet and original signed signature
 14      page to counsel for Plaintiff, Kathleen Connolly.
 15            If you have any questions, please do not
 16      hesitate to call.         Thank you.
 17
 18      Yours,
 19      Suzanne Toto
         Reporter/Notary
 20
 21      cc:    Kathleen Connolly, Esquire
 22
 23
 24
 25

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               Exhibit 12
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                                  #:8638
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               7
                              U.S. DEPARTMENT OF JUSTICE
               8              CIVIL DIVISION
                              OFFICE OF IMMIGRATION LITIGATION
               9              BY: LAUREN FASCETT, ESQ.
                              BY: COLIN A. KISOR, ESQ.
              10              BY: SARAH L. VUONG, ESQ.
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                              Washington, DC 20044
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                              BY: ELENA GARCIA, ESQ.
              15              2050 Main Street, Suite 1100
                              Irvine, CA 92614-8255
              16              (949) 567-7738

              17       Also Present:

              18              Ivonne Marie Padro, Spanish Interpreter
                              Cert No. 301749
              19              Raquel Somorriba

              20

              21

              22

              23

              24

              25

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               1                             I N D E X

               2           Witness                                  Examination

               3   Franklin

               4           By Ms. Fascett                              4, 42
                           By Ms. Garcia                                  39
               5

               6

               7

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              10     1 - Declaration                                    25

              11

              12

              13

              14                       INFORMATION REQUESTED

              15                              (None)

              16

              17

              18

              19           QUESTIONS WITNESS INSTRUCTED NOT TO ANSWER

              20                              (None)

              21

              22

              23

              24

              25

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   15:04       1     Los Angeles, California; Thursday, September 22, 2016

               2                               3:53 p.m.

               3                                * * *

               4

   15:04       5              (Whereupon, IVONNE MARIE PADRO was duly

               6       sworn as the English-Spanish interpreter.)

               7

               8                   FRANKLIN

               9   having been first duly sworn, was examined and testified

   15:04      10                              as follows:

              11

              12                              EXAMINATION

              13   BY MS. FASCETT:

              14       Q      Good afternoon, Franklin.

   15:53      15       MS. GARCIA:    I'm sorry.

              16              We ask that the questioning be limited to an

              17   hour because he is a minor, and it has been a long day

              18   for him.    I don't know if you guys agree to that.

              19       MS. FASCETT:    I'm not going to agree to any

   15:53      20   limitation, but let's see how he's doing in an hour, and

              21   we can certainly discuss it.

              22       Q      My name is Lauren Fascett.    I'm an attorney

              23   with the Department of Justice.      I'm going to ask you a

              24   series of questions that you're under oath to provide a

   15:54      25   full and complete answer.

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   15:56       1   we did in the last case where we did the translation and

               2   we got that certified.     You have a copy to look at.

               3       MS. FASCETT:    So you're handing me a translated

               4   version of his statement.

   15:57       5       MS. GARCIA:    Yeah.

               6       MS. FASCETT:    Did you provide this to Franklin and

               7   his mother?

               8       MS. GARCIA:    Yes.

               9       MS. FASCETT:    So this is the version he reviewed

   15:57      10   with his mother today?

              11       MS. GARCIA:    Yes.

              12       MS. FASCETT:    Because I don't have a translated

              13   version.    That's why I was asking.

              14       Q      So I want to ask you some specific questions

   15:57      15   about your time in the Customs and Border Patrol

              16   facilities when you first came to the United States.

              17              So you were apprehended by immigration

              18   officials on January 22nd, 2016; is that correct?

              19       A      Yes.

   15:57      20       Q      And who was with you at that time?

              21       A      My mother.

              22       Q      Anyone else?

              23       A      No.

              24       Q      And what happened when you were apprehended?

   15:58      25       A      They took us to a detention center.    They call

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   15:58       1   it "the ice box."

               2       Q     And who is "they"?

               3       A     The people from immigration, from the border

               4   patrol.

   15:58       5       Q     They took you to the border station?

               6       A     Yes.

               7       Q     And you said they call it "the ice box."

               8             Who is "they" in that statement?

               9       A     The people that work there at that location.

   15:58      10       Q     So the border patrol agents called it "the ice

              11   box"?

              12       A     No.

              13       Q     So who did you hear call it "the ice box"?

              14       A     The people that were there in that same room.

   15:59      15       Q     The other immigrants?

              16       A     Yes.

              17       Q     Did you ever hear anyone else call it "the ice

              18   box"?

              19       A     No.

   15:59      20             (Mr. Kisor entered the deposition room

              21       at 3:59 p.m.)

              22       Q     BY MS. FASCETT:   And how long were you at the

              23   McAllen border station?

              24       A     Like, two days.

   15:59      25       Q     Do you remember what time you arrived there?

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   15:59       1       A      It was around, like, 7:00 o'clock in the

               2   morning or 6:00.

               3       Q      Around 7:00 o'clock in the morning that you

               4   arrived at the border station?

   16:00       5       A      It's that we're right there very early in the

               6   morning.

               7       Q      So what time were you apprehended, if you

               8   remember?

               9       A      Twenty-two, but it was, like, 3:00 or

   16:00      10   4:00 o'clock in the morning.

              11       Q      Can you please describe for me the area that

              12   you were in at the McAllen border station.

              13       A      It was a closed room.    It was very cold.   There

              14   was only one cement bench and lots of minors.      Couldn't

   16:01      15   sleep.

              16       Q      You said "lots of minors."

              17              About how many minors?

              18       A      Like, 15 or 20 minors.

              19       Q      And what ages were they, if you know?

   16:01      20       A      Fifteen to sixteen years old.

              21       Q      Were there any adults in the area with you?

              22       A      No.

              23       Q      Did you receive a blanket?

              24       A      No.

   16:01      25       Q      Did you receive anything to keep warm?

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                                  #:8644
   16:01       1       A     No.

               2       Q     Can you tell me about the toilet facilities?

               3       A     It was a toilet, and it didn't have a seat

               4   where you sit down.     It was not very clean, and they

   16:02       5   only had a sink.

               6       Q     Okay.    So there was a sink in the bathroom?

               7       A     Yes.    No paper or anything to wash.

               8       Q     Was there any soap?

               9       A     No.

   16:02      10       Q     Was there any hand sanitizer?

              11       A     No.

              12       Q     Was there a wall around the toilet area?

              13       A     Yes.    There was a wall about this high

              14   (indicating).

   16:02      15       Q     For the record, you're holding your hand up

              16   about three feet, would you say?

              17       A     Yes.

              18       Q     Okay.    I want to ask you about the food

              19   situation.

   16:02      20             Were you given food?

              21       A     Yes.

              22       Q     What did you receive?

              23       A     First it was -- they gave us a cookie, and then

              24   later on bread with ham.     And for dinner, another

   16:03      25   cookie.

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                                  #:8645
   16:03       1       Q     Did they provide any other meals?

               2       A     No.

               3       Q     Did you eat the food that they gave you?

               4       A     Yes.

   16:03       5       Q     And were you provided with a jug of water?

               6       A     There they had a jug of water, but they only

               7   had one cup.

               8       Q     Can you explain that more.

               9       A     They only had one cup for everyone that was

   16:04      10   there, and I only drank water once from that cup.

              11       Q     Okay.   What was the cup made of?

              12       A     It was, like, paper.

              13       Q     Did you ever ask for another cup?

              14       A     No.

   16:04      15       Q     Were you free to access the water at any time?

              16       A     Yes.

              17       Q     You said you used the cup to drink water one

              18   time; correct?

              19       A     Yes.

   16:04      20       Q     Is it fair to say you had the opportunity to

              21   drink more water if you had wanted?

              22       A     Yes.

              23       Q     And how was your health during this time?

              24       A     The next day I was feeling, like, really bad,

   16:05      25   very tired and dizzy.

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                                  #:8646
   16:06       1       A     All this part and all this area (indicating), I

               2   got spots because of the cold.

               3       Q     Did you seek medical treatment for that

               4   condition?

   16:07       5       A     Not at that place.

               6       Q     Okay.   I want to clarify.

               7             You said you had spots from the cold on your

               8   cheeks?

               9       A     Yes.

   16:07      10       Q     Before you were apprehended, did you have any

              11   medical problems?

              12       A     No.

              13       Q     You said you did not notify anyone at the

              14   McAllen border station about your skin.

   16:07      15       A     Yes.

              16       Q     Yes, you did not tell anyone?

              17       A     Not at that place, but yes to the next place

              18   that we were detained, the following place.

              19       Q     Okay.   When you were taken to the McAllen

   16:07      20   border station, was your mother with you?

              21       A     No.

              22       Q     Do you know where she was?

              23       A     No.

              24       Q     So the next day on January 23rd, you were

   16:08      25   transferred to the Ursula facility; is that correct?

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                                  #:8647
   16:08       1       A     No.

               2       Q     Okay.   Tell me where you were taken next.

               3       A     To a place they call it "the dog cages."

               4       Q     Who is "they"?

   16:08       5       A     I don't know.

               6       Q     Why do they call it "the dog cages"?

               7       A     It is a very big place, and they have a lot of

               8   youth people there in different cells.

               9       Q     And who did you hear say "the dog cages"?

   16:09      10       A     The minors.   The same minors that were there.

              11       Q     So what time did you arrive at that facility?

              12       A     Like, in the morning.

              13       Q     Okay.   And do you remember how long you were

              14   there?

   16:09      15       A     No.

              16       Q     Were you given a meal when you arrived at that

              17   facility?

              18       A     Yes.

              19       Q     And what were you given?

   16:10      20       A     An apple and, like, a taco.    Like, a burrito.

              21       Q     Okay.   And were you served another meal later

              22   that day?

              23       A     Yes.

              24       Q     Can you tell me about what time that was and

   16:10      25   what you received?

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                                  #:8648
   16:14       1       A     No.

               2       Q     So earlier you said that you did not tell

               3   anyone at the border station about the spots on your

               4   skin, but that you did tell someone later.

   16:14       5             When and who did you tell?

               6       A     I told that to one of the persons that were

               7   there, but that person only just told me, "Just wash

               8   your face."

               9       Q     So you told someone -- a border patrol agent?

   16:14      10       A     To the guards that they were taking care of us

              11   at the second location.

              12       Q     Okay.   And were you able to wash your face?

              13       A     Yes.

              14       Q     Okay.   Was there soap available?

   16:15      15       A     No.

              16       Q     Were there paper towels?

              17       A     Yes.

              18       Q     Were you given a toothbrush?

              19       A     Yes.

   16:15      20       Q     And can you describe the setup of the bathroom.

              21       A     They were, like, portable bathrooms, and they

              22   were very clean.

              23       Q     Was there a wall surrounding these bathrooms?

              24       A     No.

   16:16      25       Q     Was it in a separate room?

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                                  #:8649
   16:16       1       A      Yes.

               2       Q      So there was privacy?

               3       A      Yes.

               4       Q      Did you receive a blanket at the second

   16:16       5   facility?

               6       A      Yes.

               7       Q      Did you need it?

               8       A      Yes.

               9       Q      Can you describe the temperature?

   16:16      10       A      Cold.

              11       Q      Was your mother at this facility with you?

              12       A      Yes.

              13       Q      How did you know she was there?

              14       A      Because they transported us together.

   16:16      15       Q      And was she in the same area as you?

              16       A      No.

              17       Q      Where was she, if you know?

              18       A      I don't know.

              19       Q      Okay.   Can you describe the area that you were

   16:17      20   kept in.

              21       A      It was a very spacious area, and they gave us a

              22   blanket.

              23       Q      Were there mats provided?

              24       THE INTERPRETER:     Let me inquire.

   16:17      25       THE WITNESS:     Okay.   Like a mat, yeah.   A mattress.

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                                  #:8650
   16:17       1       Q     BY MS. FASCETT:   Were you able to sleep?

               2       A     Yes.

               3       Q     Were there other people in the cell with you?

               4       A     Yes.

   16:17       5       Q     And how many?

               6       A     Ten.

               7       Q     And who were they?

               8       A     I don't know.   Minors.

               9       Q     About what age?

   16:18      10       A     Fifteen, sixteen years old.

              11       Q     Were you ever afraid of any of the other

              12   minors?

              13       A     No.

              14       Q     At the second facility, did you ever feel

   16:18      15   unsafe?

              16       A     No.

              17       Q     Were you ever afraid of any of the guards?

              18       A     Yes.

              19       Q     Why?

   16:18      20       A     Because one time when they took us so we could

              21   sit down to make a line, one of them scolded me really

              22   bad.

              23       Q     How did he scold you?

              24       A     He told me that I was an immigrant, for me to

   16:19      25   be grateful and appreciate this opportunity that I was

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   16:24       1       Q     Who else?

               2       A     Two other families.

               3       Q     Were you ever afraid of the other families?

               4       A     No.

   16:25       5       Q     At some point did an immigration official give

               6   you a document explaining your rights?

               7       A     No.

               8       Q     Did any of the government officials explain

               9   your rights?

   16:25      10       A     No.

              11       Q     Did anyone ask you about any family you have in

              12   the United States?

              13       A     No.

              14       Q     Did you ever tell anyone that you had relatives

   16:25      15   in the United States?

              16       A     No.

              17       Q     And is it correct that you do have an uncle in

              18   the United States?

              19       A     Yes.

   16:26      20       Q     Okay.   But you didn't tell any government

              21   official about your uncle?

              22       A     No.

              23       Q     I want to ask you about your declaration

              24   specifically.

   16:26      25             I'm going to have the redacted declaration

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   16:40       1       A     Group.

               2       Q     What did he say?

               3       A     "Get up."   For us to get up.    Not to be sitting

               4   down on the floor.

   16:40       5       Q     Anything else?

               6       A     No.

               7       Q     I want to clarify.

               8             Were you ever physically touched by the agents

               9   in an oppressive manner?

   16:41      10       A     No.

              11       Q     Why did you not mention any guards speaking

              12   harshly in your declaration?

              13       A     I don't know.

              14       Q     You're not in any detention now; correct?

   16:41      15       A     No.

              16       Q     So the last place you were at was the Karnes

              17   facility.

              18       A     Yes.

              19       Q     And how long were you there again?

   16:41      20       A     Like, around 15 days.

              21       Q     And then what happened on the 15th day when you

              22   were released?

              23       A     They called us.    They took us to a room, and

              24   they just called my uncle and told him to come and pick

   16:42      25   us up.

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   16:54       1       A      To be able to obtain political asylum.

               2       Q      I wanted to ask you again about the spots

               3   that -- you said you had your spots at the first border

               4   station.

   16:55       5              Did they hurt?

               6       A      No.

               7       Q      Was it, like, dry skin?

               8       A      Yes.

               9       Q      And when did they first develop?

   16:55      10       A      When we started being there at the ice box.

              11       Q      And why do you think they came?    From the cold;

              12   is that right?

              13       A      Yes.

              14       Q      So did they go away as soon as you weren't cold

   16:55      15   anymore?

              16       A      Yes.

              17       Q      I have a question about your declaration.

              18              In paragraph 14, regarding the last sentence,

              19   it says:

   16:56      20              "I think the only reason I have been

              21       treated so inhumanely is so the U.S.

              22       immigration authorities can use me and other

              23       detained minors as an example to convince

              24       other young people facing violence and even

   16:56      25       death in El Salvador to stay home, deal with

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   16:56       1       the violence, risk death, but don't come

               2       here for protection."

               3             What made you think that?

               4       A     Because of the reason that there were some of

   16:57       5   the minors that they were detained for over a month.

               6       Q     Okay.    And when you say they were using the

               7   experience as an example to deter others, are those your

               8   words?

               9       A     Yes.

   16:57      10       Q     Okay.    And so you say that was based on the

              11   fact that you knew other minors who were detained for a

              12   month's time?

              13       A     Yes.

              14       Q     Was there any other reason?

   16:58      15       A     Because also by being there for a month or such

              16   a long time will make you go back to your country and

              17   not be there for that long time.

              18       Q     And to clarify, you were at the Karnes facility

              19   for 15 days; is that correct?

   16:58      20       A     Where?

              21       Q     The Karnes facility.

              22       A     Yes.

              23       Q     And you were at the first border station for

              24   barely a day?

   16:59      25       A     Two.

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   17:01       1   any redirect.

               2       MS. GARCIA:    Yeah, I do.    I know it's been a long

               3   questioning, but I have a few more questions for him.

               4

   17:01       5                              EXAMINATION

               6   BY MS. GARCIA:

               7       Q     You said that you were at McAllen, you think,

               8   for two days.

               9       A     Yes.

   17:01      10       Q     And were you able to sleep those days?

              11       A     No.

              12       MS. GARCIA:    Okay.    Was he given any -- he testified

              13   that there was no blanket.

              14             Was there anything else that he could sleep

   17:01      15   with?

              16       THE WITNESS:    No.

              17       MS. GARCIA:    Could he lay down?

              18       THE WITNESS:    No.

              19       MS. GARCIA:    Why not?

   17:02      20       THE WITNESS:    There were too many people.

              21       MS. GARCIA:    Could he sit?

              22       THE WITNESS:    No.

              23       MS. GARCIA:    Was it like that the whole two days?

              24       THE WITNESS:    Yes.

   17:02      25       Q     BY MS. GARCIA:     So you couldn't even rest by

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   17:02       1   sitting?

               2       A      No.

               3       Q      And were you cold the whole two days that you

               4   were there?

   17:02       5       A      Yes.

               6       Q      And did you feel you had enough privacy using

               7   the toilet?

               8       A      No.

               9       Q      The attorney here said you have -- you

   17:03      10   mentioned here in your declaration about some statements

              11   that your mom made to you.

              12       A      Yes.

              13       Q      You had an opportunity to talk to your mother

              14   in Karnes before you made this declaration?

   17:03      15       A      Yes.

              16       Q      So you guys shared all your experiences.

              17       A      Yes.

              18       Q      Okay.   Now I'm going to ask a couple of

              19   questions about the declaration itself and how it was

   17:04      20   taken.

              21       A      Okay.

              22       MS. GARCIA:     Did the attorney who took the

              23   declaration at any time tell him what had to go in the

              24   declaration?

   17:04      25       THE WITNESS:     No.

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   17:04       1       Q     BY MS. GARCIA:   Did she ever put words in your

               2   mouth?

               3       A     No.

               4       Q     And you had the chance to read it and agreed

   17:04       5   with everything in the declaration before you signed it?

               6             I'm sorry.   Can I strike that.

               7       MS. GARCIA:    I meant to say that the attorney read

               8   it to him, and he agreed with everything she read to

               9   him?

   17:05      10       MR. KISOR:    We don't mind, but you objected before

              11   as to leading.

              12       MS. GARCIA:    Okay.

              13       MR. KISOR:    We don't mind.

              14       MS. GARCIA:    Well, can he answer the question?

   17:05      15       THE INTERPRETER:    Can you repeat the question.

              16       MS. GARCIA:    Can you repeat my question.

              17             (The record was read.)

              18       THE WITNESS:    Yes.

              19       MS. GARCIA:    Give me one minute, please.

   17:06      20       Q     Were you at any point in your detention told

              21   about your rights as a minor under Flores?

              22       A     No.

              23       MS. GARCIA:    Those are all the questions.

              24       MS. FASCETT:    We can go off the record for a second.

   17:07      25             (Discussion held off the record.)

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   17:07       1          MS. FASCETT:    Okay.   We can go back on the record.

               2          Q    I want to clarify one of the questions that

               3   your attorney asked you.

               4

   17:07       5                           FURTHER EXAMINATION

               6   BY MS. FASCETT:

               7       Q       You said that you were not able to lay down or

               8   sit at the McAllen border station.

               9               So are you saying that you stood for two days?

   17:07      10       A       Kneeled.

              11       Q       You kneeled.

              12       A       Stoop, squat, crouch.

              13       MR. KISOR:     He can demonstrate if he wants to.

              14       MS. GARCIA:       Is that necessary?

   17:08      15       THE INTERPRETER:       Crouch down.

              16       Q       BY MS. FASCETT:     So were you at all sitting?    I

              17   guess I'm a little confused.

              18       MS. GARCIA:       Objection.   Asked and answered.

              19       Q       BY MS. FASCETT:     Were you able to sit in any

   17:08      20   way?

              21       A       No.

              22       Q       You said that your mother and you were trying

              23   to get apprehended by the immigration officials.

              24       A       Yes.

   17:08      25       Q       When or how did you learn that you could turn

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   17:10       1             (Whereupon, the deposition was

               2       concluded at 5:10 p.m.)

               3

               4                              * * *

   17:10       5

               6             I declare under penalty of perjury under the

               7   laws of the State of California that the foregoing is

               8   true and correct.    Executed this _____ day of _________,

               9   2_____, at _________________________, California.

   17:10      10

              11                   ____________________________
                                        WITNESS SIGNATURE
              12

              13

              14

              15

              16

              17

              18

              19

              20

              21

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              24

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               1                 Certificate of Person Reading

               2                       Deposition To Witness

               3

               4             I, ___________________________, a

               5   _______________ interpreter, having interpreted the

               6   testimony contained in the foregoing deposition from

               7   English into Spanish and the corrections that are made

               8   thereon were made through me by the witness translating

               9   from Spanish into English.

              10             I certify under penalty of perjury that I well

              11   and truly translated from English into Spanish and

              12   Spanish into English the foregoing deposition.

              13             Executed at ______________________, California,

              14   this ___________ day of ___________ 2016.

              15

              16                    _________________________
                                    Signature of Interpreter
              17

              18                  ____________________________
                                   First and Last Name Printed
              19

              20             _______________________________________
                                             Address
              21
                                       _____________________
              22                             Telephone

              23

              24

              25

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               1   STATE OF CALIFORNIA       )
                                             )
               2   COUNTY OF LOS ANGELES     )

               3

               4                      REPORTER'S CERTIFICATE

               5

               6             I, Sharon Amy Golding, Certified Shorthand

               7   Reporter No. 5934, do hereby certify:

               8             That, prior to being examined, Franklin

               9   Castillo Somorriva, the witness in the foregoing

              10   deposition was by me duly sworn to testify to the truth,

              11   the whole truth and nothing but the truth;

              12             That said deposition was taken down by me in

              13   shorthand at the time and place therein named and

              14   thereafter reduced to print by means of computer-aided

              15   transcription under my direction, and the same is a

              16   true, correct and complete transcript of said

              17   proceedings;

              18             I further certify that I am neither counsel

              19   for, nor related to any party to said action, nor in any

              20   way interested in the outcome thereof;

              21             In witness whereof, I have hereunto subscribed

              22   my name this 25th of September, 2016.

              23

              24                 ________________________________
                                 Sharon Amy Golding, CSR No. 5934
              25

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                                   #:8662

1
2    DATED: December 5, 2016                Respectfully submitted,

3                                           CENTER FOR HUMAN RIGHTS &
4                                           CONSTITUTIONAL LAW
                                            Peter A. Schey
5                                           Carlos Holguín
6
7
                                            ORRICK, HERRINGTON & SUTCLIFFE LLP
8
                                            T. Wayne Harman
9                                           Elena García
10                                          LA RAZA CENTRO LEGAL, INC.
11                                          Michael Sorgen
                                            Amanda Alvarado Ford
12
13                                          LAW FOUNDATION OF SILICON VALLEY -
                                            LEGAL ADVOCATES FOR CHILDREN &
14                                          YOUTH
15                                          Jennifer Kelleher Cloyd
                                            Katherine H. Manning
16                                          Kyra Kazantzis
17                                          Annette Kirkham
18                                          Of counsel:
19
                                            YOUTH LAW CENTER
20                                          Alice Bussiere
                                            Virginia Corrigan
21
22                                          /s/__Peter Schey_____
                                            Attorneys for Plaintiffs
23
     ///
24
25
26
27
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Case 2:85-cv-04544-DMG-AGR Document 287-3 Filed 12/06/16 Page 102 of 102 Page ID
                                   #:8663

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2                                    CERTIFICATE OF SERVICE

3          I, Peter Schey, declare and say as follows:
4
           I am over the age of eighteen years of age and am a party to this action. I am
5

6    employed in the County of Los Angeles, State of California. My business address is

7    256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
8
           On December 6, 2016 I electronically filed the following document(s):
9
10            • Plaintiffs EXHIBITS 9-12 [PART 3 OF 6]
11
     with the United States District Court, Central District of California by using the
12
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
13

14   served by the CM/ECF system.
15

16                                                /s/__Peter Schey_____
                                                  Attorney for Plaintiffs
17

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